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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      PIKEVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff/Respondent,                     )   Crim. No.: 7:07-cr-0023-GFVT-EBA-4
                                                  ) Related Civil No.: 7:12-cv-7204-GFVT-EBA
 V.                                               )
                                                  )                JUDGMENT
 OCEANUS PERRY,                                   )
                                                  )
        Defendant/Petitioner.                     )

                                       *** *** *** ***

       Consistent with the Order entered contemporaneously herewith, and pursuant to Rule 58

of the Federal Rules of Civil Procedure, it is and the Court being otherwise sufficiently advised,

it is hereby ORDERED AND ADJUDGED as follows:

       1.    Judgment is ENTERED in favor of the Respondent;

       2.    A Certificate of Appealability is DENIED as to all issues raised by Petitioner; and

       3.    All issues having been resolved, this case is STRICKEN from the active docket.

       This the 6th day of September, 2018.
